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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

    MARKETFLEET PUERTO RICO, INC.,
    derivatively on behalf of
    MARKETFLEET INC.,

         Plaintiff,

                   v.                             Civil No. 18-1112 (FAB)

    YARDSTASH SOLUTIONS, LLC,

         Defendant.



                            MEMORADUM AND ORDER 1


BESOSA, District Judge.

        Before   the    Court   is    defendant    Yardstash   Solutions,   LLC

(“Yardstash”)’s motion to transfer pursuant to 28 U.S.C. § 1404(a)

(“section 1404”).         (Docket No. 9.)         For the reasons set forth

below, the Court GRANTS Yardstash’s motion to transfer.

I.      Factual Background

        This action concerns a patent infringement claim.             (Docket

No. 9 at p. 7.)          Yardstash is a Delaware incorporated limited

liability company with its principal place of business in San

Diego, California.         (Docket No. 11, Ex. 1 at pp. 13-14; Docket

No. 9, Ex. 1 at p. 1.)               San Diego is located in the Southern

District of California.          Marketfleet is a Delaware corporation



1 Jeremy S. Rosner, a third-year student at Emory University School of Law,
assisted in the preparation of this Memorandum and Order.
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with   its    principal   place      of   business   in   Chico,   California.

(Docket No. 9, Ex. 9 at p. 7.)            Chico is located in the Eastern

District of California.        Id.

       A.     The California Litigation

              Yardstash purportedly owns a patent for a storage tent

pursuant to United States Patent No. D689,579 (“Patent 579”).

(Docket No. 2; Docket No. 9, at p. 7.)               According to Yardstash,

Marketfleet infringed Patent 579 by “making, offering for sale,

selling, and/or shipping a nearly identical product to [Patent

579].”      (Docket No. 9, Ex. 3 at p. 4.)

              On March 28, 2017, Yardstash commenced an action in the

Southern District of California, alleging violations of United

States patent law and California law.                Docket No. 9, Ex. 3 at

pp. 7-8; see 35 U.S.C. §§ 284 et seq., Cal. Bus. & Prof. Code

§ 17200 et seq.     Subsequently, the District Court for the Southern

District of California transferred Yardstash’s patent infringement

claims to the Eastern District of California pursuant to 28 U.S.C.

§ 1406(a).     Id. at pp. 6-8.

       B.     The Puerto Rico Litigation

              On February 26, 2018, Marketfleet PR filed a derivative

complaint against Yardstash in the District of Puerto Rico on

behalf of Marketfleet.       (Docket No. 1 at pp. 1-2, 4.)         Marketfleet

PR is incorporated in Puerto Rico, and maintains its principal
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place of business in Puerto Rico.          Id. at p. 3.      Marketfleet PR

requests that this Court issue a declaratory judgment, holding

either that Marketfleet’s storage tent does not infringe Patent

579, or that Patent 579 is invalid.               Id.    On May 15, 2018,

Yardstash moved to transfer the claims asserted by Marketfleet PR

to the Eastern District of California pursuant to section 1404.

(Docket No. 9 at p. 29.) 2

II.   Transfer Pursuant to 28 U.S.C. Section 1404

      Pursuant section 1404, “a district court may transfer any

civil action to any other district or division where it might have

been brought . . . in the interest of justice.”                    28 U.S.C.

§ 1404(a).     Congress adopted this statute “to prevent the waste

of time, energy and money, and to protect litigants, witnesses and

the public against unnecessary inconvenience and expense.”                 Van

Dusen v. Barrack, 376 U.S. 612, 616 (1964) (citation omitted).

Yardstash shoulders the burden of proving that transfer is proper,

“because of the strong presumption in favor of plaintiff’s choice




2 Yardstash also moves to dismiss the complaint for lack of jurisdiction and

improper venue pursuant to Federal Rule of Civil Procedure 12(b)(2) and (3)
(“Rule 12(b)”).     (Docket No. 9.)     Because Marketfleet PR’s claims are
transferred to the Eastern District of California, this Court need not address
whether jurisdiction and venue are proper in the District of Puerto Rico.   See
Antilles Cement Corp. v. Aalborg Portland A/S, 526 F. Supp. 2d 205, 207 (D.P.R.
2007) (Acosta, J.) (citing Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 24-
25 (1988)) (“[W]here transfer to another federal jurisdiction is viable, the
proper remedy is not dismissal of the complaint [based on lack of personal
jurisdiction or venue] but rather a determination of whether transfer is
proper”.).
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of venue.”     Arroyo-Pérez v. Demir Group Int’l., 733 F. Supp. 2d

at 319 (citations omitted); see Villalobos v. North Carolina

Growers Ass’n., 42 F. Supp. 2d 131, 142 (D.P.R. 1999) (Fusté, J.)

(citation omitted) (“The burden of proof is on the movant and

unless the balance is strongly in favor of the defendant, the

plaintiff’s     choice    of    forum       should   rarely   be   disturbed.”)

(citation and internal quotation omitted).

     Courts    possess    discretion        in   “adjudicat[ing]    motions   for

transfer      according        to      an     individualized,      case-by-case

consideration of convenience and fairness.”               Astro-Med, Inc. v.

Nihon Kohden Am., Inc., 591 F.3d 1, 12 (1st Cir. 2009).                        To

determine    whether     transfer      is   warranted,   Courts    consider   the

following four factors:             (1) the convenience of the parties and

witnesses, (2) the availability of documents, (3) the possibility

of consolidation, and (4) the order in which the district court

obtained jurisdiction.”         Albizu Rodríguez, v. Carlos Albizu Univ.,

585 F. Supp. 2d 240, 244 (D.P.R. 2008) (Besosa, J.) (citation

omittied).

III. Discussion

     All factors weigh in favor of transfer.                  Accordingly, the

Court transfers this action to the Eastern District of California.
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      A.    Convenience of the Parties and Witnesses

            In the context of section 1404, “the convenience of

witnesses is probably the most important factor in deciding whether

to transfer.”       Ponce de León Hosp. Corp. v. Avalon Logistics,

Inc., 117 F. Supp. 3d 124, 132 (D.P.R. 2015) (Domínguez, J.)

(citation omitted).         The movant must “show that it would be

inconvenienced by the chosen venue.”                Arroyo-Pérez, 733 F. Supp.

2d at 319 (citation omitted).                 Courts need not defer to the

plaintiff’s choice of forum when there is no connection between

the   selected     jurisdiction     and      the   allegations      underlying      the

complaint.       See Fash Obalco v. M.K.M. Indus., 888 F. Supp. 344,

349 (D.P.R. 1995) (Domínguez, J.) (internal citations omitted)

(“Where    the    forum   chosen    by    plaintiff     is    not    his    place    of

residence,   or     bears   no   obvious       connection     to    the    case,    the

defendant’s residence gains importance in determining the relative

convenience of the parties.”).

            Marketfleet     PR     is    a    Puerto   Rico    corporation,         and

maintains its principal place of business in Puerto Rico.                    (Docket

No. 9, Ex. 4 at pp. 2-3; Docket No. 9, Ex. 2 at p. 2.)                    Marketfleet

PR, however, is suing on behalf of Marketfleet.                    (Docket No. 1 at

p. 1.)      Marketfleet’s officers, directors, and employees are
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located in California. 3          Yardstash’s officers, directors, and

employees      are   also    located   in    California.   4   George      Barker

(“Barker”) is the inventor of the storage tent corresponding to

Patent 579.       (Docket No. 9, Ex. 1 at p. 1.)           Barker is the most

important witness in the case, and resides in California.                    Id.;

see SCVNGR, Inc. v. eCharge Licensing, LLC, No. 13-12418, 2014

U.S. Dist. LEXIS 135408, at *21 (D. Mass. Sept. 25, 2014) (holding

that “the most significant witnesses in a patent infringement case

are     the   inventors”).      Consequently,     the   Eastern   District     of

California is a more convenient forum to litigate the purported

infringement of Patent 579.

        B.    Availability of Documents

              With regard to the second factor, “[d]ue to recent

technological advances, reliance on physical copies of documents

and     records    has   diminished    now   that    documents    have     become

more accessible through electronic means.”              Ponce de León Hosp.

Corp., 117 F. Supp. 3d at 133 (citation omitted).              This litigation

involves online retail, entailing proof of purchase and sales

records that are stored electronically.             See Docket No. 11, Ex. 1

at pp. 2, 5 and 7.        Moreover, Patent 579 is logged electronically



3 See Docket No. 1 at p. 3; Ex. 2 at pp. 2-3; Ex. 6 at pp. 2-3; Ex. 7 at p. 2;
Ex. 7 at pp. 6-7; Docket No. 11, Ex. 1.

4   See Docket No. 1 at p.3; Docket No. 9, Ex. 1 at p. 1; Ex. 3 at p. 2.
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with the United States Patent and Trademark Office.                   (Docket

No. 2; Docket No. 9 at p. 7.)         Accordingly, the availability of

documents is no reason to deny Yardstash’s motion to transfer.

      C.    Possibility of Consolidation          and   Order    in    which
            Jurisdiction was Obtained

            The third and fourth factors of the section 1404 analysis

“prevent duplication and inconsistent rulings.”         Arroyo-Pérez, 733

F. Supp. 2d at 321.    With regard to the third factor, transfer is

appropriate when the actions subject to consolidation are in the

early stages of litigation.       Cf. Codex Corp. v. Milgo Elec. Corp.,

553 F.2d 735, 739 (1st Cir. 1977).       The fourth factor establishes

that “the first filed action is generally preferred in a choice-

of-venue decision.”        Cianbro Corp. v. Curran-Lavoie, Inc., 814

F.2d 7, 11 (1st Cir. 1987); see N.Y. Wiping & Indus. Prod. Co. v.

Rocky Brands, Inc., No. 09-1237, 2009 U.S. Dist. LEXIS 77827 at *6

(D.P.R. Aug. 31, 2009) (Fusté, J.) (“Where the parties have filed

two actions in separate districts, however, and the actions are

nearly identical, ‘the first-filed action is generally preferred

in a choice of venue decision.’”) (citation omitted).

            The cases pending in the District of Puerto Rico and the

Eastern District of California are both in the pre-trial stages.

See Docket No. 9, Ex. 10 at p. 5; Docket No. 11; Docket No. 12.

The   Eastern   District     of   California   case   concerns   a     patent

infringement claim regarding Patent 579.        (Docket No. 9, Ex. 3 at
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p. 2.)     The case before this Court pertains to the validity and

enforceability Patent 579.         (Docket No. 1 at pp. 1-2.)        Because

both cases involve nearly identical facts, they are subject to

consolidation.      See Albizu, 585 F. Supp. 2d at 244.

             The   Southern     District     of   California    transferred

Yardstash’s patent infringement action to the Eastern District of

California on February 16, 2018.           (Docket No. 9, Ex. 9 at p. 8.)

The case before this Court commenced ten days later on February 26,

2018.    See Docket No. 1 at p. 19.        Accordingly, all factors weigh

in favor of transfer to the Eastern District of California.

IV.   Conclusion

      For the reasons set forth above, the Court GRANTS Yardstash’s

motion to transfer.      (Docket No. 9.)      Accordingly, this action is

TRANSFERRED to the Eastern District of California.

      IT IS SO ORDERED.

      San Juan, Puerto Rico, August 31, 2018.


                                           s/ Francisco A. Besosa
                                           FRANCISCO A. BESOSA
                                           UNITED STATES DISTRICT JUDGE
